
On Motion to Dismiss.
Taliaferro, J.
There is a motion to dismiss the appeal taken in this case by J. Q. A. Fellows, intervenor, on the ground that he has not given bond for an appeal. The record shows that the intervenor has failed to give appeal bond. He contends, however, that he joined the city in taking an appeal, and that the city has given bond for costs, the only bond that could be required in the case.
*470The intervenor is a separate independent party in the litigation. The obligation of the city to pay costs does not cover the costs incurred by the intervention. We think the intervenor should have given bond.
The motion to dismiss is sustained, and it is ordered that the appeal, so far as it relates to the intervenor, be dismissed.
